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                           United States District Court
                                     for the
                           Southern District of Florida

   Aligned Bayshore Holdings, LLC,      )
   Plaintiff,                           )
                                        )
   v.                                   ) Civil Action No. 18-21692-Civ-Scola
                                        )
   Westchester Surplus Lines            )
   Insurance Company, Defendant.        )
                  Order Referring Motion to Magistrate Judge
        The Court refers the Defendant’s motion for attorneys’ fees and costs (ECF
  No. 88) to United States Magistrate Judge Edwin G. Torres for a report and
  recommendations, consistent with 28 U.S.C. § 636(b)(1)(B), Federal Rule of Civil
  Procedure 72, and Rule 1(d) of the Local Magistrate Judge Rules.

        Done and ordered, at Miami, Florida, on August 14, 2019.


                                             ________________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge
